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                       UNITED STATED DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ROME DIVISION

DAVID JUSTIN FREEMAN,    )
                         )
     Plaintiff,          )
v.                       )
                         )                       CIVIL ACTION
                         )
OFFICER CASEY WAYNE      )
LYALL, individually,     )
OFFICER KEITH STREETMAN, )
individually,            )
                         )
     Defendants.         )

                                      COMPLAINT

        Plaintiff David Justin Freeman brings this complaint under 42 U.S.C. § 1983

against Defendants Casey Wayne Lyall and Keith Streetman, in their individual

capacities.

                                       PARTIES

   1.       Plaintiff David Justin Freeman is a citizen and resident of Polk County,

            Georgia.

   2.       Defendant Officer Casey Wayne Lyall is a police officer employed by

            Polk County. At all times relevant to this complaint, Officer Lyall acted

            under the color of law.

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3.   Defendant Officer Keith Streetman is a police officer employed by Polk

     County. At all times relevant to this complaint, Officer Streetman acted

     under the color of law.

                     JURISDICTION AND VENUE

4.   This Court has subject matter jurisdiction under 28 U.S.C. § 1331

     because this case presents a federal question. Upon service of process,

     this Court acquires personal jurisdiction over the Defendant under Fed.

     R. Civ. P. 4(k)(1)(a).

5.   Venue is proper in the Rome Division of the Northern District of Georgia

     under 28 U.S.C. § 1391(b) because all actions complained of occurred

     within the boundaries of this district and Defendant resides within this

     district.


                        STATEMENT OF FACTS

6.   On May 22, 2018, Officer Lyall and Officer Streetman were conducting a

     traffic stop in the parking lot of a store.

7.   During the traffic stop, while the Officers were out of their patrol cars,

     Plaintiff, while driving past the scene in his car loudly stated, “Fuck you,

     pigs.”

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8.    When Plaintiff made this statement, he was traveling past the Officers

      and inside his car. He was separated from the Officers by one lane of

      traffic and some span of grassy median and parking lot.

9.    As Plaintiff made that statement, he continued paying attention to

      driving, and did not violate any traffic law as he drove past the location

      of the traffic stop.

10.   Plaintiff’s statement did not interfere with the performance of the

      Officers’ duties, or the completion of the traffic stop which they had

      previously initiated.

11.   Based solely on Plaintiff’s statement, Officers Lyall and Streetman got

      into their car and initiated a traffic stop on Plaintiff’s car.

12.   Plaintiff continued driving lawfully, and pulled over safely immediately

      after the Officers initiated the traffic stop.

13.   After stopping Plaintiff’s car, Officer Streetman asked Plaintiff why he

      was “hollering profanities” and whether Plaintiff had yelled “F- you

      pigs.”




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14.   Officer Streetman then stated that he was charging Plaintiff with

      disorderly conduct and both Officers forcibly removed Plaintiff from his

      car.

15.   Officers Streetman and Lyall then placed Plaintiff under arrest and

      charged him with disorderly conduct, reckless driving, and obstruction of

      a law enforcement officer.

16.   As a result of his arrest, Plaintiff was jailed for approximately 48-hours.

17.   As a result of Plaintiff’s roadside detention and following arrest, he

      suffered loss of his liberty, reputational damage, humiliation, and

      emotional distress.

                                     COUNT I
                     Violation of the Fourth Amendment
                          under 42 U.S.C. § 1983

18.   Plaintiff incorporates all previous allegations.

19.   There was no probable cause to arrest Plaintiff for any of the crimes

      charged by the Officers, or for any other crime.

20.   The law is clearly established that it does not constitute disorderly

      conduct to scream “Fuck you, pigs” at a police officer from a distance

      where doing so does not interfere with the officer’s performance of his


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          official duties.

   21.    There was no reasonable articulable suspicion to initiate a traffic stop of

          Plaintiff.

                                        COUNT II
                             Violation of the First Amendment
                                  under 42 U.S.C. § 1983

   22.    Plaintiff incorporates all previous factual allegations.

   23.    Plaintiff’s statement directed at the Officers constituted political speech

          which is entitled to the highest protection under the First Amendment.

   24.    The Officers’ roadside detention and arrest of Plaintiff were motivated

          entirely by Plaintiff’s speech and there was no probable cause for

          Plaintiff’s detention or arrest.

                                    Request for Relief

Plaintiff requests this Court:

   a.        Hold a trial by jury on all issues so triable;

   b.        Award nominal, compensatory, special, and punitive damages against

             Defendants in an amount to be proven at trial;

   c.        Award Plaintiff attorney’s fees under 42 U.S.C. § 1988;

   d.        Grant any relief to which Plaintiff is entitled as a matter of law or

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           equity.

    Respectfully submitted, this 22nd day of May, 2020.




Jeffrey R. Filipovits                     Gerald Weber
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